






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00393-CR






Merril Leroy Jessop, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF SCHLEICHER COUNTY, 51ST JUDICIAL DISTRICT

NO. 995, THE HONORABLE BARBARA L. WALTHER, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Appellant Merril Leroy Jessop filed a pro se notice of appeal following his conviction
for sexual assault of a child.  In connection with that appeal, appellant filed pro se motions for a free
record and appointed counsel for the appeal.  After conducting a hearing on the motions, the trial
court found that appellant was not indigent and denied the motions.  Appellant appealed the trial
court's ruling.  We affirmed the trial court's order denying appointed counsel and a free record. 
See&nbsp;Jessop v. State, No. 03-10-00393-CR, 2011 WL 182871, at *4 (Tex. App.--Austin
Jan.&nbsp;19,&nbsp;2011)&nbsp;(mem. op., not designated for publication).  The court of criminal appeals
subsequently&nbsp;granted,&nbsp;but&nbsp;later dismissed as improvidently granted, appellant's petition for
discretionary&nbsp;review.&nbsp;&nbsp;See&nbsp;Jessop&nbsp;v.&nbsp;State, PD-0241-11,(Tex. Crim. Mar. 28, 2012), available at
http://www.cca.courts.state.tx.us/opinions/pdfOpinion.asp?OpinionID=22305.  Accordingly, the case
was returned to our court.


		On June 20, 2012, this Court sent a letter to appellant requesting that he make
arrangements for the record to be filed with this Court and submit a status report regarding his
appeal.  We informed appellant that his appeal may be dismissed for want of prosecution if he did
not make arrangements for payment of the record and submit a status report regarding this appeal
on or before July 2, 2012.  To date, appellant has not responded to this Court's letter, the record has
not been filed, and no arrangements for payment of the record have been made. (1)

		We dismiss the appeal for want of prosecution.  See Tex. R. App. P. 37.3(b).


						__________________________________________

						J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Puryear and Pemberton

Dismissed for Want of Prosecution

Filed:   August 3, 2012

Do Not Publish

1.   While the petition for discretionary review was pending before the court of criminal
appeals, a motion to substitute counsel was filed.  The court of criminal appeals granted the motion,
allowing currently designated counsel to substitute in for appellant's retained trial counsel who was
handling appellant's appeal, including the appeal of the indigency matter, pro bono.  In response to
our June 20 letter, we received a response from substituted counsel stating that appellant was
informed of the dismissal of his petition for discretionary review.  Counsel expressed that he did not
believe appellant would be arranging for a record in this case and, further, indicated that appellant
understood that the failure to do so would lead to the dismissal of his appeal for want of prosecution. 

